Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 1 of 68




              EXHIBIT 4
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 2 of 68




                                                                  1
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 3 of 68




                                                                  2
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 4 of 68




                                                                  3
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 5 of 68




                                                                  4
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 6 of 68




                                                                  5
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 7 of 68




                                                                  6
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 8 of 68




                                                                  7
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 9 of 68




                                                                  8
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 10 of 68




                                                                   9
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 11 of 68




                                                                   10
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 12 of 68




                                                                   11
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 13 of 68




                                                                   12
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 14 of 68




                                                                   13
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 15 of 68




                                                                   14
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 16 of 68




                                                                   15
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 17 of 68




                                                                   16
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 18 of 68




                                                                   17
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 19 of 68




                                                                   18
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 20 of 68




                                                                   19
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 21 of 68




                                                                   20
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 22 of 68




                                                                   21
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 23 of 68




                                                                   22
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 24 of 68




                                                                   23
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 25 of 68




                                                                   24
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 26 of 68




                                                                   25
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 27 of 68




                                                                   26
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 28 of 68




                                                                   27
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 29 of 68




                                                                   28
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 30 of 68




                                                                   29
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 31 of 68




                                                                   30
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 32 of 68




                                                                   31
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 33 of 68




                                                                   32
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 34 of 68




                                                                   33
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 35 of 68




                                                                   34
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 36 of 68




                                                                   35
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 37 of 68




                                                                   36
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 38 of 68




                                                                   37
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 39 of 68




                                                                   38
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 40 of 68




                                                                   39
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 41 of 68




                                                                   40
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 42 of 68




                                                                   41
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 43 of 68




                                                                   42
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 44 of 68




                                                                   43
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 45 of 68




                                                                   44
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 46 of 68




                                                                   45
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 47 of 68




                                                                   46
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 48 of 68




                                                                   47
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 49 of 68




                                                                   48
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 50 of 68




                                                                   49
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 51 of 68




                                                                   50
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 52 of 68




                                                                   51
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 53 of 68




                                                                   52
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 54 of 68




                                                                   53
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 55 of 68




                                                                   54
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 56 of 68




                                                                   55
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 57 of 68




                                                                   56
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 58 of 68




                                                                   57
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 59 of 68




                                                                   58
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 60 of 68




                                                                   59
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 61 of 68




                                                                   60
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 62 of 68




                                                                   61
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 63 of 68




                                                                   62
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 64 of 68




                                                                   63
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 65 of 68




                                                                   64
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 66 of 68




                                                                   65
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 67 of 68




                                                                   66
Case 1:22-mc-00229-ALC Document 6-4 Filed 08/23/22 Page 68 of 68




                                                                   67
